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 2   JASON HITT
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2751
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        Case No. CR-S-07-0248 WBS
                                   )
12             Plaintiff,          )        STIPULATION AND PROPOSED ORDER
                                   )        RESETTING THE HEARING DATE ON THE
13        v.                       )        GOVERNMENT’S MOTION FOR REVOCATION
                                   )        OF MAGISTRATE JUDGE’S ORDER
14   MARIO DIAZ, et al.,           )        AUTHORIZING PRETRIAL RELEASE FOR
                                   )        DEFENDANT ERNEST PAUL KILLINGER
15             Defendants.         )
                                   )        DATE: June 23, 2008
16                                 )        TIME: 8:30 a.m.
     ______________________________)        JUDGE: Hon. William B. Shubb
17
18           Based upon the availability of counsel and the Court, the
19   plaintiff, United States of America, by and through its counsel,
20   Assistant United States Attorney Jason Hitt, and defendant Ernest
21   Paul KILLINGER, by and through his counsel Michael Bigelow, Esq.,
22   stipulate and agree that the previously-set date of June 2, 2008,
23   for hearing on the government’s motion to revoke the Magistrate
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /

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 1   Judge’s Release Order for Defendant Ernest Paul KILLINGER should be
 2   vacated and reset to a hearing date of June 23, 2008, at 8:30 a.m.
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 4
                                                Respectfully Submitted,
 5
                                                McGREGOR W. SCOTT
 6                                              United States Attorney
 7   DATED:   May 21, 2008            By:       /s/Jason Hitt
                                                JASON HITT
 8                                              Assistant U.S. Attorney
 9
10   DATED:   May 21, 2008            By:       /s/Jason Hitt
                                                Authorized to sign for Mr.
11                                              Bigelow on 05-20-08
                                                MICHAEL BIGELOW, Esq.
12                                              Attorney for Ernest KILLINGER
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 1                                     ORDER
 2        Based upon the representations and stipulation of counsel, IT
 3   IS HEREBY ORDERED that:
 4        1.   The date of June 2, 2008, for hearing on the government’s
 5   motion to revoke the Magistrate Judge’s Release Order for Defendant
 6   Ernest Paul KILLINGER is hereby vacated; and
 7        2.   Hearing on the government’s motion to revoke the
 8   Magistrate Judge’s Release Order for Defendant Ernest Paul KILLINGER
 9   is reset for June 23, 2008, at 8:30 a.m.
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11        IT IS SO ORDERED.
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13   DATED: May 21, 2008
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